Case 1:23-cv-00528-TMH                 Document 96             Filed 09/19/24           Page 1 of 5 PageID #: 1970



 quinn emanuel trial lawyers | wilmington
 500 Delaware Avenue, Suite 220, Wilmington, Delaware 19801 | TEL (302) 302-4000 FAX (302) 302-4010

                                                                                                      WRITER'S DIRECT DIAL NO.
                                                                                                                (302) 302-4030

                                                                                                      WRITER'S EMAIL ADDRESS
                                                                                             michaelbarlow@quinnemanuel.com


 September 19, 2024

 VIA CM/ECF & HAND DELIVERY
 The Honorable Christopher J. Burke
 United States District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 N. King Street, Unit 28
 Wilmington, DE 19801-3555

 Re:      Arnold, et al. v. X Corp. f/k/a Twitter, Inc., et al., C.A. No. 23-cv-528-CFC-CJB

 Dear Judge Burke,

         We write on behalf of non-parties Antonio Gracias, Brad Sheftel, David Sacks, Jared
 Birchall, Jason Calacanis, and Sam Teller (collectively, the “Non-Parties”) in accordance with the
 Court’s Guidelines for Discovery Disputes, in response to the Subpoenas served on the Non-
 Parties (D.I. 84-89, the “Subpoenas”) in the above-referenced action between September 13-18,
 2024.

         Pursuant to Rules 26 and 45, the Non-Parties object to and move to quash the Subpoenas,
 their requests for depositions, and the twelve or more document requests in each Subpoena on the
 grounds that they impose an undue burden on the Non-Parties, seek information more
 appropriately obtained through party discovery, and fail to allow a reasonable time to comply. In
 addition, the Court has not entered any appropriate confidentiality provisions to govern any
 exchange of information. At a minimum, and consistent with the Court’s approach in connection
 with a prior motion to quash third-party subpoenas (see D.I. 50), the Court should reserve decision
 until the pending motion to dismiss is resolved.

          A.    The Subpoenas Impose An Undue Burden On The Non-Parties Because The
                Documents Are More Appropriately Sought From A Party

         “A party or attorney responsible for issuing and serving a subpoena must take reasonable
 steps to avoid imposing undue burden or expense on a person subject to the subpoena.” Fed. R.
 Civ. P. 45(d)(1). Failure to do so constitutes grounds to quash the subpoena. See Fed. R. Civ. P.
 45(d)(3)(A). Whether a subpoena imposes an undue burden depends on various factors including
 the party’s “need for the documents, the breadth of the request, the time period covered, the
 particularity with which the documents are described, and the burden imposed in responding.” In
 re TQ Delta, 2018 WL 5033756, at *2 (D. Del. Oct. 17, 2018) (quoting Ebert v. C.R. Bard, Inc.,
 2014 WL 1365889, at *2 (M.D. Pa. Apr. 17, 2014)). “In this undue burden inquiry, nonparties are
Case 1:23-cv-00528-TMH          Document 96        Filed 09/19/24     Page 2 of 5 PageID #: 1971




 afforded ‘special protection.’” Cash Today of Texas, Inc. v. Greenberg, 2002 WL 31414138, at
 *4 (D. Del. Oct. 23, 2002) (quoting Exxon Shipping Co. v. United States Dept. of Interior, 34 F.3d
 774, 779 (9th Cir. 1994)). “A party’s ability to obtain documents from a source with which it is
 litigating is a good reason to forbid it from burdening a non-party with production of those same
 documents.” Korotki v. Cooper Levenson, April, Niedelman & Wagenheim, P.A., 2022 WL
 2191519, at *7 n.19 (D.N.J. June 17, 2022); see also Angolo, Gordon & Co., L.P. v. MTE Holdings,
 LLC, 2020 WL 4700910, at *3 (S.D.N.Y. Aug. 13, 2020) (subpoena unduly burdensome where it
 sought information readily available from other sources).

         These factors favor quashing the Subpoenas. The Subpoenas request twelve or more
 sweeping categories of documents from each of the Non-Parties; nearly all of these categories of
 documents are more appropriately obtained through party discovery. See D.I. 84-89. By way of
 example, the Subpoenas each seek all documents concerning “the nature, means, and manner of
 the performance of any Continuing Employee’s job duties” (Request No. 4); “planned or actual
 reductions in force at Twitter” (Request No. 5); “the identification of particular Continuing
 Employees to be laid off or retained by Twitter” (Request No. 6); “changes in the terms and
 conditions of the Continuing Employees’ employment” (Request No. 7); “Section 6.9 of the
 Merger Agreement” (Request No. 9); Section 9.7 of the Merger Agreement” (Request No. 10);
 and “Twitter’s ongoing severance obligations for Continuing Employees” (Request No. 11).

         The Non-Parties are not parties to the Merger Agreement, and they are not representatives
 of Twitter. The Subpoenas are not a legitimate effort to seek discoverable information about these
 topics; instead, they are an attempt to foist burdensome discovery on the Non-Parties in an end-run
 around party discovery. This is fundamentally improper: “subpoenas under Rule 45 are clearly
 not meant to provide an end-run around the regular discovery process under Rules 26 and 34.”
 Burns v. Bank of Am., 2007 WL 1589437, at *14 (S.D.N.Y. June 4, 2007) (granting motion to
 quash). Plaintiffs cannot show that they could not obtain this discovery from a party to the action.
 See, e.g., Morrow v. Air Ride Techs., Inc., 2006 WL 559288, at *2 (S.D. Ind. Mar. 6, 2006)
 (requiring party to show that it could not obtain documents from its adversary before permitting
 the party to burden a non-party to produce the same documents); Haworth, Inc. v. Herman Miller,
 Inc., 998 F. 2d 975, 978 (Fed. Cir. 1993) (holding that the district court properly required the
 defendant to seek discovery from its party opponent before burdening the nonparty). Absent such
 a showing, it is clear that the discovery sought here is more appropriately obtained from another
 source that is “more convenient, less burdensome, or less expensive,” and the Court “must limit
 the … extent of discovery.” Avago Techs. U.S., Inc v. IPtronics Inc, 309 F.R.D. 294, 297 (E.D.
 Pa. 2015) (citations omitted); see also Burns, 2007 WL 1589437, at *14 (“If documents are
 available from a party, it has been thought preferable to have them obtained pursuant to Rule 34
 rather than subpoenaing them from a non-party witness.”). Accordingly, these broad and
 premature document requests must be quashed.

          For the same reasons, Plaintiffs’ demand to immediately depose six non-parties to this
 litigation before any party depositions have taken place is improper and warrants quashing the
 Subpoenas. There is not yet a schedule for discovery in this case, the Non-Parties are not aware
 that Plaintiffs have made any effort to depose representatives of Defendants, nor have they made
 a showing that the Non-Parties have any discoverable information at all, let alone unique
 information. Under such circumstances, seeking depositions of the six Non-Parties—many of

                                                  2
Case 1:23-cv-00528-TMH          Document 96       Filed 09/19/24      Page 3 of 5 PageID #: 1972




 whom are high-ranking executives at non-party corporations—is premature and improper. See,
 e.g., Brit. Telecommunications PLC v. IAC/Interactivecorp, 2020 WL 1043974, at *8 (D. Del.
 Mar. 4, 2020) (granting motion to quash deposition of former chief executive officer where there
 was no showing that she “has unique or personal knowledge as to relevant information, and that
 the information cannot be obtained through less burdensome means,” including through other
 depositions). Rather, the proper course is to require Plaintiffs to “exhaust other, less burdensome
 avenues of obtaining the information,” id.—including through conducting party depositions in the
 ordinary course—and then to revisit the request to depose non-parties only after that process is
 completed and if, at that point, the burden to the non-parties is justified.

        B. The Subpoenas Fail To Allow Reasonable Time To Respond

         Rule 45(d)(3)(A) also provides that the Court “must quash or modify a subpoena” where,
 as here, it “fails to allow a reasonable time to comply.”

         Plaintiffs noticed the Subpoenas on September 13, 2024, and service was completed
 between September 13-19. The Subpoenas request that the Non-Parties appear for depositions and
 produce twelve or more categories of documents just five business days after they were noticed,
 on September 20. See D.I. 84-89 at 1, 2. This does not even provide the requisite time for the
 Non-Parties to serve objections within the fourteen days allotted by Fed. R. Civ. P. 45(d)(2)(B),
 much less permit the parties to negotiate disputes over the broad and improper nature of the
 requests. Nothing in the Federal Rules permits Plaintiffs to mandate that non-parties appear for
 deposition—or undertake the tremendous time and expense of responding to a subpoena duces
 tecum—with only five (or fewer) business days’ notice and without the benefit of serving
 objections permitted by Fed. R. Civ. P. 45(d)(2)(B).

         Plaintiffs cannot provide any defensible basis or justification for the compressed time
 period for compliance, especially for non-parties to the action. Indeed, this action was filed on
 May 16, 2023, and there are no deadlines set in the case. Defendants’ motion to dismiss remains
 pending, there are no discovery deadlines, and the Court has not yet set a date for summary
 judgment or trial. Under these circumstances, Plaintiffs’ issuance of the Subpoenas (for both
 documents and depositions) with less than a week for compliance is unduly burdensome and
 clearly improper. Faced with similar facts, this Court and others have found that such a short
 amount of time is “clearly unreasonable.” Verisign, Inc. v. XYZ.com, LLC, 2015 WL 7960976, at
 *1 (D. Del. Dec. 4, 2015) (quoting Hall v. Louisiana, 2014 WL 1652791, at *13 (M.D. La. Apr.
 23, 2014)). For this independent reason, the Court should quash the Subpoenas.

        C.   The Subpoenas Seek Confidential Documents And Information With No
             Guarantee of Protection

        The Subpoenas should also be quashed because they would obligate the Non-Parties to
 disclose commercially sensitive information without providing any indication that such
 information will be adequately protected from disclosure. See Fed. R. Civ. P. 45(d)(3)(B)(ii)
 (motion to quash appropriate where the subpoena would require “disclosing … commercial
 information”). As indicated supra, Section A, the Subpoenas seek both depositions and broad



                                                 3
Case 1:23-cv-00528-TMH           Document 96        Filed 09/19/24       Page 4 of 5 PageID #: 1973




 categories of documents regarding highly sensitive information about Twitter employee personnel
 files, the Merger Agreement, and the inner workings of the transition, among others.

        Yet, assuming that the Non-Parties possess such information, Plaintiffs have provided no
 assurances that the parties will maintain the appropriate level of confidentiality, nor can Plaintiffs
 make this showing because there is no protective order in place. Any documents produced by the
 Non-Parties in connection with the requests—which seek documents containing sensitive personal
 and commercial information—would be unprotected and exposed to serious risk of publication or
 dissemination. “When information … is confidential and subject to misuse by a litigant, it is
 appropriate for the Court to order that the information be made subject to a protective order and
 be available only to trial counsel.” Liveware Publishing, Inc. v. Best Software, Inc., 252 F. Supp.
 2d 74, 85 (D. Del. 2003); see also PhishMe, Inc. v. Wombat Sec. Techs., Inc., 2017 WL 4138961,
 at *2 (D. Del. Sept. 18, 2017) (“A producing party may ask the Court to minimize its burden to
 turn over discoverable information by ordering that a protective order be issued, to protect it from
 “annoyance, embarrassment, oppression, or undue burden or expense[.]” (quoting Fed. R. Civ. P.
 26(b)(1))).

        Because there is no protective order in place and Plaintiffs have made no indication they
 will protect the confidentiality of any documents produced or information provided by the
 Non-Parties, the Court should quash the Subpoenas.

        D.    In The Alternative, The Court Should Reserve Decision Or Issue A Protective
              Order To Allow Third-Party Discovery Only After The Pending Motion To
              Dismiss Has Been Decided

         In the alternative to quashing the Subpoenas, the Court should reserve decision or issue a
 protective order providing for third-party discovery to commence only after the Court rules on the
 pending motion to dismiss (D.I. 77 and 78). The Court already has adopted this approach with
 respect to the parties’ prior discovery dispute, reserving decision on a motion to quash third-party
 subpoenas until the pending motion to dismiss is resolved. D.I. 50. Under Rule 26(c), the Court
 may issue such an order for “good cause” in order “to protect a party or person from annoyance,
 embarrassment, oppression, or undue burden or expense.” Should the Court grant the motion to
 dismiss, then no third-party discovery will be necessary. And proceeding in this fashion would
 avoid wasting the resources of non-parties to this action, the parties, and the Court. See, e.g., Nixon
 v. City of Detroit, 2023 WL 6702390, at *2 (E.D. Mich. Oct. 12, 2023) (denying leave to begin
 third party discovery where a motion to dismiss was pending because “if the Court grants
 Defendants’ motions to dismiss after the state agencies have already responded to these third-party
 subpoenas, it will result in a waste of resources, time, and expenses”). Under such circumstances,
 a protective order preventing third-party discovery as to these Non-Parties from taking place unless
 and until this case moves forward is appropriate. See Harry F. Ortlip Co. v. George Hyman Const.
 Co., 126 F.R.D. 494, 495 (E.D. Pa. 1989) (granting motion for protective order where it appeared
 depositions were sought “not for the purpose of providing information in the captioned case, but
 are sought, instead, for the purpose of providing information for the imminent arbitration”).

        We thank the Court for consideration of this matter.



                                                   4
Case 1:23-cv-00528-TMH         Document 96    Filed 09/19/24     Page 5 of 5 PageID #: 1974




                                             Respectfully,

                                              /s/ Michael A. Barlow

                                             Michael A. Barlow (#3928)

                                             Counsel for Non-Parties Antonio
                                             Gracias, Brad Sheftel, David Sacks,
                                             Jared Birchall, Jason Calacanis,
                                             and Sam Teller

 CC:   All Counsel of Record




                                              5
